

Grant v Metropolitan Opera Assn., Inc. (2019 NY Slip Op 02632)





Grant v Metropolitan Opera Assn., Inc.


2019 NY Slip Op 02632


Decided on April 4, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 4, 2019

Friedman, J.P., Gische, Kapnick, Webber, Gesmer, JJ.


8908 150603/16

[*1]Dov Grant, Plaintiff-Respondent,
vMetropolitan Opera Association, Inc., Defendant-Appellant, Lincoln Center for the Performing Arts, Inc., Defendant.



An appeal having been taken to this Court by the above-named appellant from an order of the Supreme Court, New York County (Paul A. Goetz, J.), entered on or about August 1, 2018,
And said appeal having been withdrawn before argument by counsel for the respective parties; and upon the stipulation of the parties hereto dated February 21, 2019,
It is unanimously ordered that said appeal be and the same is hereby withdrawn in accordance with the terms of the aforesaid stipulation.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: APRIL 4, 2019
CLERK








